July 20, 2020                                                                            Joseph J. Yu
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The Hon. William L. Osteen, Jr.
United States District Court
L. Richardson Preyer Courthouse
324 W. Market Street
Greensboro, NC 27401-2544

Re: Democracy North Carolina, et al. v. The North Carolina State Board of Elections, et al.,
    No. 20-cv-00457

Dear Judge Osteen:

Please see the Declaration of Gary Bartlett in Support of Virtual Testimony, enclosed as
Attachment A.

Sincerely,




Joseph J. Yu

Enclosure

cc: All counsel of record (by ECF)




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